             Case 2:11-cr-00296-WBS Document 564 Filed 06/12/17 Page 1 of 2



 1
     THOMAS A. JOHNSON, #119203
     KRISTY M. KELLOGG, #271250
 2   Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 1620
 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
     Attorneys for Moctezuma Tovar
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                               )   Case No.: 2:11-cr-00296-JAM
     UNITED STATES OF AMERICA,                   )
10                                               )   STIPULATION AND [PROPOSED]
                   Plaintiff,                    )   ORDER MODIFYING CONDITIONS OF
11                                               )   RELEASE FOR MOCTEZUMA TOVAR
         vs.                                     )
12   MOCTEZUMA TOVAR,                            )
                                                 )
13                 Defendant.                    )
                                                 )
14
15          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16   conditions of release for defendant Moctezuma Tovar may be modified to permit Mr.
17   Tovar to travel to Punta Cana from June 25, 2017 to July 2, 2017 in order to attend his
18   aunt’s forty-eighth wedding anniversary. Mr. Tovar shall return to the Eastern District of
19   California on or before July 2, 2017.
20          Brian Fogerty, Assistant United States Attorney, and Thomas A. Johnson, attorney
21   for Moctezuma Tovar, agree to this modification of the conditions of release. All other
22   previously ordered conditions of release remain in full force and effect.
23
24   IT IS SO STIPULATED.
25
26   Dated: June 9, 2017                                     /s/ Thomas A. Johnson
                                                             THOMAS A. JOHNSON
27
                                                             Attorney for Moctezuma Tovar
28


                                                                                           1
             Case 2:11-cr-00296-WBS Document 564 Filed 06/12/17 Page 2 of 2



 1
 2   Dated: June 9, 2017                                     PHILIP A. TALBERT
                                                             United States Attorney
 3
 4                                                           /s/ Brian Fogerty
                                                             BRIAN FOGERTY
 5
                                                             Assistant U.S. Attorney
 6
 7
 8                                                ORDER
 9          IT IS HEREBY ORDERED that defendant Moctezuma Tovar may travel to Punta
10   Cana to attend his aunt’s forty-eighth wedding anniversary from June 25, 2017 to July 2,
11   2017. In advance of his trip, Mr. Tovar shall provide proof of his travel and hotel
12   accommodations to Pretrial Services.
13          IT IS FURTHER ORDERED that the Clerk of the Court shall return Moctezuma
14   Tovar’s passport. Mr. Tovar shall return his passport to the Clerk of the Court on the first
15   business day following his return to the Eastern District of California on July 2, 2017.
16          IT IS SO ORDERED.
17   Dated: June 9, 2017.
18
19
20
21
22
23
24
25
26
27
28


                                                                                                2
